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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                     Holding a Criminal Term

                              Grand Jury Sworn in on May 1,2019

UNITED STATES OF AMERICA                               CRIMINAL NO.

                                                       MAGISTRATE NO, 19-MJ-I94

BRENDON SPANN,                                         VIOLATIONS:
                                                       18 U.S.C. $ 2261A(2)
                        Defendant,                     (Cyberstalking)
                                                       18 U.S.C. $ 87s(c)
                                                       (Interstate Communications with Intent to
                                                       Threaten, Kidnap, or Injure)

                                        INDICTMENT
         The Grand Jury charges that:

                                           COUNT ONE

         Beginning in or about November 2017, through on or about July 23,2019, within the

District of Columbia and elsewhere, the defendant BRENDON SPANN, with the intent to kill,

injure, harass, intimidate, and cause emotional distress to another person, namely, Victim 1, using

any interactive computer service, electronic communication service, electronic communication

system   of interstate commerce, and any other facility of interstate or foreign commerce, did

willfully and knowingly   engage in the course of conduct that placed   Victim 1 in reasonable fear

of death and serious bodily injury, and that caused, attempted to cause, and would be reasonably

expected to cause substantial emotional distress to   Victim   1.


         (Cyberstalking, in violation of Title 1 8, United States Code, Section   2261   A(2))
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                                            COLTNT TWO

       On or about April 13,2019, within the District of Columbia and elsewhere, the defendant

BRENDON SPANN, did willfully and knowingly transmit in interstate and foreign cornmerce

from Anne Arundel County, in the State of Maryland and elsewhere, to the District of Columbia,

electronic and telephonic communications to Victim      l, which   communications contained threats

to kidnap and injure the person of Victim 1, that is, an email with the subject, "I'm Going to   Kill

you, [Victim 1]" containing the text, "I'm going to kill you, [Victim 1]."

       (Interstate Communications with Intent to Threaten, Kidnap, or Injure, in violation
       Title 18, United States Code, Section 875(c))

                                          COUNT THREE

       Beginning in or about January 2019, through on or about July 23, 2019, within the District

of Columbia and elsewhere, the defendant BRI,NDON SPANN, with the intent to kill, injure,

harass, intimidate, and cause emotional distress to another person, namely,     Victim 2, using any

interactive computer service, electronic communication service, electronic communication system

of interstate commerce, and any other facility of interstate or foreign commerce, did wiltfully and

knowingly engage in the course of conduct that placed Victim 2 in reasonable fear of death and

serious bodily injury, and that caused, attempted to cause, and would be reasonably expected to

cause substantial emotional distress to   Victim   2.

       (Cyberstalking, in violation of Title 18, United States Code, Section 2261A(2))

                                           COUNT FOUR

       On or about March 9, 2019, within the District of Columbia and elsewhere, the defendant

BRENDON SPANN, did witlfulty and knowingly transmit in interstate and foreign corrrmerce

from Anne Arundel County, in the State of Maryland and elsewhere, to the District of Columbia,

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electronic and telephonic communications to Victim 2, which communications contained threats

to kidnap and injure, the person of Victim 2, that is, a series of text messages that read, ""IDK

what to do, people aren't listing to me. I might have to shoot the place up[,]" followed by,   "I'm

tired of being treated like [expletive]. Somebody's got to   die."   Finally, "I have so much anger,

[Victim 2]."

       (Interstate Communications with Intent to Threaten, Kidnap, or Injure, in violation
       Titte 18, United States Code, Section 875(c))

                                           COUNT FIVE,

       Beginning in or about January 2018, through on or about July 23,2019, within the District

of Columbia and elsewhere, the defendant BRENDON SPANN, with the intent to kill, injure,

harass, intimidate, and cause emotional distress to another person, namely,    Victim 3, using any

interactive computer service, electronic communication service, electronic communication system

of interstate commerce, and any other facility of interstate or foreign commerce did willfully and

knowingly engage in the course of conduct that placed Victim 3 in reasonable fear of death and

serious bodily injury, and that caused, attempted to cause, and would be reasonably expected to

cause substantial emotional distress to   Victim   3.


       (Cyberstalking, in violation of Title 18, United States Code, Section 2261A(2))

                                            COUNT SIX

       On or about Aprrl2,2019, within the District of Columbia and elsewhere, the defendant

BRENDON SPANN, did willfully and knowingly transmit in interstate and foreign commerce

from Anne Arundel County, in the State of Maryland and elsewhere, to the District of Columbia,

electronic and telephonic communications to Victim 4, which communications contained threats

to kidnap and injure, the person of Victim 4, that is, an email containing the following message:

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"Traitors all around me, They wanna down me, Put that gun in their face, There won't be a case,

I'll deliver them to the river, Tie'em down with a weight   ...   [.]"
       (Interstate Communications with Intent to Threaten, Kidnap, or Injure, in violation
       Title 18, United States Code, Section 875(c))


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and lor the District of Columbia.




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